               Case 19-62090-sms                        Doc 10        Filed 08/28/19 Entered 08/28/19 17:25:22                                          Desc Main
                                                                     Document      Page 1 of 24

        Fill in this information to identify the case:
 Debtor name Golden Tree, Inc.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                    Check if this is an
                                               GEORGIA, ATLANTA DIVISION
 Case number (if known): 1:19-bk-62090                                                                                                               amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and           Name, telephone number Nature of claim                  Indicate if claim   Amount of claim
 complete mailing address,      and email address of   (for example, trade debts,        is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code             creditor contact       bank loans, professional         unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                       services, and government             disputed        value of collateral or setoff to calculate unsecured claim.
                                                       contracts)                                           Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 DeKalb County                                                                                                                                                             $1,150.00
 4380 Memorial Dr
 Ste 100
 Decatur, GA
 30032-1239
 Internal Revenue                                                                                                                                                          $9,360.00
 Service
 PO Box 7346
 Philadelphia, PA
 19101-7346
 Jong S. Kim                                                                                                                                                           $342,574.29
 c/o Greg Golden
 3490 Piedmont
 Road One
 Securities Ctr #
 Atlanta, GA 30301
 Jong S. Kim                                                                                                                                                           $300,000.00
 c/o Greg Golden
 3490 Piedmont
 Road One
 Securities Ctr #
 Atlanta, GA 30301
 Michael Pmphrey                                                                                                                                                       $262,304.32
 c/o The Zagoria Law
 Firm, LLC
 2801 Buford Hwy NE
 Ste T25
 Atlanta, GA
 30329-2142
 Saehan Bank                                                                           Unliquidated             $2,800,000.00                         $0.00         $2,800,000.00
 SBA Department                                                                        Disputed
 3580 Wilshire Blvd
 Ste 1500
 Los Angeles, CA
 90010-2516




Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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               Case 19-62090-sms                        Doc 10        Filed 08/28/19 Entered 08/28/19 17:25:22                                          Desc Main
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 Debtor    Golden Tree, Inc.                                                                                 Case number (if known)         1:19-bk-62090
           Name

 Name of creditor and           Name, telephone number Nature of claim                  Indicate if claim   Amount of claim
 complete mailing address,      and email address of   (for example, trade debts,        is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code             creditor contact       bank loans, professional         unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                       services, and government             disputed        value of collateral or setoff to calculate unsecured claim.
                                                       contracts)                                           Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 Siasim Redan, LLC                                                                     Unliquidated             $1,300,000.00                         $0.00         $1,300,000.00
 c/o Mills & Hoopes,                                                                   Disputed
 LLC
 1550 N Brown Rd
 Ste 130
 Lawrenceville, GA
 30043-8154
 Steven C. Chen,                                                                                                                                                       $163,365.17
 Nancy Stein
 c/o Mark D. Welsh
 2600 Century Pkwy
 NE Ste 100
 Atlanta, GA
 30345-3104




Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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            Case 19-62090-sms                                   Doc 10               Filed 08/28/19 Entered 08/28/19 17:25:22                                                          Desc Main
                                                                                    Document      Page 3 of 24
            Fill in this information to identify the case:

 Debtor name            Golden Tree, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

 Case number (if known)               1:19-bk-62090
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 fromSchedule A/B.............................................................................................................................                   $        2,700,000.00

       1b. Total personal property:
           Copy line 91A fromSchedule A/B.........................................................................................................................                      $              7,000.00

       1c. Total of all property:
           Copy line 92 fromSchedule A/B...........................................................................................................................                     $        2,707,000.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A,Amount of claim, from line 3 of Schedule D....................................                                                   $        4,114,755.17


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a ofSchedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of
                                                                           Schedule E/F................................................                                                +$        1,078,753.78


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $          5,193,508.95




 Official Form 206Sum                                               Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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            Case 19-62090-sms                      Doc 10        Filed 08/28/19 Entered 08/28/19 17:25:22                               Desc Main
                                                                Document      Page 4 of 24
            Fill in this information to identify the case:

 Debtor name          Golden Tree, Inc.

 United States Bankruptcy Court for the:          NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

 Case number (if known)        1:19-bk-62090
                                                                                                                                       Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’ s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:       Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No.   Go to Part 2.
      Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)          Type of account                            Last 4 digits of account
                                                                                                             number


            3.1.     Chase Bank                                           checking                           0259                                     $7,000.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                      $7,000.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No.    Go to Part 3.
       Yes Fill in the information below.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
      Yes Fill in the information below.
 11.        Accounts receivable


            11b. Over 90 days old:                            56,000.00    -                         56,000.00 =....                                  unknown
                                             face amount                       doubtful or uncollectible accounts



Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                                  page 1
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           Case 19-62090-sms                       Doc 10          Filed 08/28/19 Entered 08/28/19 17:25:22                   Desc Main
                                                                  Document      Page 5 of 24
 Debtor         Golden Tree, Inc.                                                             Case number (If known) 1:19-bk-62090
                Name


 12.       Total of Part 3.                                                                                                                 $0.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

    No.     Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No.     Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No.     Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No.     Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No.     Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
    Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                  Nature and extent     Net book value of       Valuation method used   Current value of
           property                                     of debtor's           debtor's interest       for current value       debtor's interest
           Include street address or other              interest in           (Where available)
           description such as Assessor                 property
           Parcel Number (APN), and type of
           property (for example, acreage,
           factory, warehouse, apartment or
           office building, if available.
           55.1. 1050 Holcombe Rd,
                    Decatur, GA
                    30032-2305                              Fee Simple             $2,700,000.00                                      $2,700,000.00



 56.       Total of Part 9.                                                                                                          $2,700,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 2
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            Case 19-62090-sms                      Doc 10        Filed 08/28/19 Entered 08/28/19 17:25:22                    Desc Main
                                                                Document      Page 6 of 24
 Debtor         Golden Tree, Inc.                                                             Case number (If known) 1:19-bk-62090
                Name

            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
            No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No.     Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No.     Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                             page 3
Software Copyright (c) 2019 CINGroup - www.cincompass.com
            Case 19-62090-sms                             Doc 10             Filed 08/28/19 Entered 08/28/19 17:25:22                                        Desc Main
                                                                            Document      Page 7 of 24
 Debtor           Golden Tree, Inc.                                                                                    Case number (If known) 1:19-bk-62090
                  Name



 Part 12:         Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                                Current value of                     Current value of real
                                                                                                      personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                $7,000.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                            $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                                $0.00

 83. Investments. Copy line 17, Part 4.                                                                                        $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                          $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                                 $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                     $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                                 $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                        $2,700,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                             $0.00

 90. All other assets. Copy line 78, Part 11.                                                     +                            $0.00

 91. Total. Add lines 80 through 90 for each column                                                                 $7,000.00          + 91b.            $2,700,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $2,707,000.00




Official Form 206A/B                                                Schedule A/B Assets - Real and Personal Property                                                         page 4
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            Case 19-62090-sms                        Doc 10          Filed 08/28/19 Entered 08/28/19 17:25:22                                Desc Main
                                                                    Document      Page 8 of 24
           Fill in this information to identify the case:

 Debtor name          Golden Tree, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

 Case number (if known)              1:19-bk-62090
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
        DeKalb County Water &
 2.1                                                  Describe debtor's property that is subject to a lien                  $14,755.17            $2,700,000.00
        Sewer
        Creditor's Name                               1050 Holcombe Rd, Decatur, GA 30032-2305

        774 Jordan Ln Ste 200
        Decatur, GA 30033-5700
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                      No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                        No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
        No                                            Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    Saehan Bank                                   Describe debtor's property that is subject to a lien              $2,800,000.00                        $0.00
        Creditor's Name
        SBA Department
        3580 Wilshire Blvd Ste
        1500
        Los Angeles, CA
        90010-2516
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                      No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                        No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 2
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           Case 19-62090-sms                       Doc 10          Filed 08/28/19 Entered 08/28/19 17:25:22                                  Desc Main
                                                                  Document      Page 9 of 24
 Debtor       Golden Tree, Inc.                                                                       Case number (if know)       1:19-bk-62090
              Name

        Do multiple creditors have an               As of the petition filing date, the claim is:
        interest in the same property?              Check all that apply
        No                                          Contingent
         Yes. Specify each creditor,               Unliquidated
        including this creditor and its relative
        priority.
                                                    Disputed


 2.3    Siasim Redan, LLC                           Describe debtor's property that is subject to a lien                 $1,300,000.00                       $0.00
        Creditor's Name
        c/o Mills & Hoopes, LLC
        1550 N Brown Rd Ste 130
        Lawrenceville, GA
        30043-8154
        Creditor's mailing address                  Describe the lien

                                                    Is the creditor an insider or related party?
                                                    No
        Creditor's email address, if known           Yes
                                                    Is anyone else liable on this claim?
        Date debt was incurred                      No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an               As of the petition filing date, the claim is:
        interest in the same property?              Check all that apply
        No                                          Contingent
         Yes. Specify each creditor,               Unliquidated
        including this creditor and its relative
        priority.
                                                    Disputed


                                                                                                                              $4,114,755.1
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        7

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you    Last 4 digits of
                                                                                                               enter the related creditor?        account number for
                                                                                                                                                  this entity




Official Form 206D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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            Case 19-62090-sms                      Doc 10         Filed 08/28/19 Entered 08/28/19 17:25:22                                              Desc Main
                                                                 Document     Page 10 of 24
    Fill in this information to identify the case:

 Debtor name         Golden Tree, Inc.

 United States Bankruptcy Court for the:          NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

 Case number (if known)          1:19-bk-62090
                                                                                                                                                       Check if this is an
                                                                                                                                                        amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims . If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim

 3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $1,150.00
           DeKalb County                                                       Contingent
                                                                               Unliquidated
           4380 Memorial Dr Ste 100                                            Disputed
           Decatur, GA 30032-1239
                                                                              Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                    Is the claim subject to offset?   No  Yes
 3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $9,360.00
           Internal Revenue Service                                            Contingent
                                                                               Unliquidated
           PO Box 7346                                                         Disputed
           Philadelphia, PA 19101-7346
                                                                              Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                    Is the claim subject to offset?   No  Yes
 3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $300,000.00
           Jong S. Kim                                                         Contingent
           c/o Greg Golden                                                     Unliquidated
           3490 Piedmont Road One Securities Ctr #                             Disputed
           Atlanta, GA 30301
                                                                              Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                    Is the claim subject to offset?   No  Yes
 3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $342,574.29
           Jong S. Kim                                                         Contingent
           c/o Greg Golden                                                     Unliquidated
           3490 Piedmont Road One Securities Ctr #                             Disputed
           Atlanta, GA 30301
                                                                              Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                    Is the claim subject to offset?   No  Yes




Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 2
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           Case 19-62090-sms                       Doc 10        Filed 08/28/19 Entered 08/28/19 17:25:22                                        Desc Main
                                                                Document     Page 11 of 24
 Debtor       Golden Tree, Inc.                                                                      Case number (if known)           1:19-bk-62090
              Name

 3.5       Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.             $262,304.32
           Michael Pmphrey                                                  Contingent
           c/o The Zagoria Law Firm, LLC                                    Unliquidated
           2801 Buford Hwy NE Ste T25                                       Disputed
           Atlanta, GA 30329-2142
                                                                           Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                 Is the claim subject to offset?   No  Yes
 3.6       Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.             $163,365.17
           Steven C. Chen, Nancy Stein                                      Contingent
           c/o Mark D. Welsh                                                Unliquidated
           2600 Century Pkwy NE Ste 100                                     Disputed
           Atlanta, GA 30345-3104
                                                                           Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                 Is the claim subject to offset?   No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees
   of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                 On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
 5a. Total claims from Part 1                                                                          5a.        $                            0.00
 5b. Total claims from Part 2                                                                          5b.    +   $                    1,078,753.78
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                               5c.        $                       1,078,753.78




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 2 of 2
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           Case 19-62090-sms                       Doc 10      Filed 08/28/19 Entered 08/28/19 17:25:22                              Desc Main
                                                              Document     Page 12 of 24
          Fill in this information to identify the case:

 Debtor name        Golden Tree, Inc.

 United States Bankruptcy Court for the:          NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

 Case number (if known)        1:19-bk-62090
                                                                                                                                    Check if this is an
                                                                                                                                     amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
    Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal      Property (Official
Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                 commercial lease - hot
             lease is for and the nature of             wings store
             the debtor's interest

                 State the term remaining               6 years
                                                                                      De Zhu Lin
               List the contract number of                                            2659 Chamblee Tucker Rd
                any government contract                                               Atlanta, GA 30341-3848


 2.2.        State what the contract or                 commercial lease -
             lease is for and the nature of             coin laundry
             the debtor's interest

                 State the term remaining               4 years
                                                                                      Regency Turnkey, LLC
               List the contract number of                                            863 Flat Shoals Rd SE
                any government contract                                               Conyers, GA 30094-6633


 2.3.        State what the contract or                 commercial lease -
             lease is for and the nature of             beauty supply store
             the debtor's interest

                 State the term remaining
                                                                                      Selleme LLC
               List the contract number of                                            3890 E Ponce de Leon Ave # D-2
                any government contract                                               Clarkston, GA 30021-1871




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
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                                                              Document     Page 13 of 24
          Fill in this information to identify the case:

 Debtor name        Golden Tree, Inc.

 United States Bankruptcy Court for the:          NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

 Case number (if known)        1:19-bk-62090
                                                                                                                              Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
     Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
     creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                          Column 2: Creditor


              Name                            Mailing Address                                   Name                            Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                              Street                                                                            E/F
                                                                                                                               G
                                              City                State      Zip Code


    2.2                                                                                                                        D
                                              Street                                                                            E/F
                                                                                                                               G
                                              City                State      Zip Code


    2.3                                                                                                                        D
                                              Street                                                                            E/F
                                                                                                                               G
                                              City                State      Zip Code


    2.4                                                                                                                        D
                                              Street                                                                            E/F
                                                                                                                               G
                                              City                State      Zip Code




Official Form 206H                                                        Schedule H: Your Codebtors                                        Page 1 of 1
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           Fill in this information to identify the case:

 Debtor name        Golden Tree, Inc.

 United States Bankruptcy Court for the:          NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

 Case number (if known)        1:19-bk-62090
                                                                                                                                        Check if this is an
                                                                                                                                         amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
the debtor’
          s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’
                                                            s fiscal year,                   Sources of revenue                          Gross revenue
       which may be a calendar year                                                          Check all that apply                        (before deductions and
                                                                                                                                         exclusions)

       From the beginning of the fiscal year to filing date:                                 Operating a business                                   $60,000.00
       From 1/01/2019 to Filing Date
                                                                                              Other


       For prior year:                                                                       Operating a business                                   $90,000.00
       From 1/01/2018 to 12/31/2018
                                                                                              Other


       For year before that:                                                                 Operating a business                                  $120,000.00
       From 1/01/2017 to 12/31/2017
                                                                                              Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
   royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                             Description of sources of revenue           Gross revenue from
                                                                                                                                         each source
                                                                                                                                         (before deductions and
                                                                                                                                         exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before filing this
   case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3 years
   after that with respect to cases filed on or after the date of adjustment.)

      None.
       Creditor's Name and Address                                       Dates                  Total amount of value        Reasons for payment or transfer
                                                                                                                             Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
   cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount may be
Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1

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    adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
    Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
    relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
       Insider's name and address                                        Dates                  Total amount of value          Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
   foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
       Creditor's name and address                          Describe of the Property                                         Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
   debtor without permission or refused to make a payment at the debtor’       s direction from an account of the debtor because the debtor owed a debt.

      None
       Creditor's name and address                          Description of the action creditor took                          Date action was                  Amount
                                                                                                                             taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
   capacity—within 1 year before filing this case.

       None.
               Case title                                    Nature of case              Court or agency's name and                 Status of case
               Case number                                                               address
       7.1.    Michael Pmphrey v. Il Sun                     tort                        DeKalb State Court                          Pending
               Kim and Golden Tree, Inc.                                                 556 N McDonough St                            On appeal
               18-A-69618                                                                Decatur, GA 30030-3355
                                                                                                                                       Concluded

       7.2.    Golden Tree, Inc. v. Shakeel                  dispossessory               DeKalb Magistrate Court                     Pending
               Pabani                                                                    556 N McDonough St                            On appeal
               18D50700                                                                  Decatur, GA 30030-3355
                                                                                                                                       Concluded

       7.3.    Golden Tree, Inc. Welcome                     dispossessory               DeKalb Magistrate Court                       Pending
               Pantry # 10, LLC                                                          556 N McDonough St                            On appeal
               19D82957                                                                  Decatur, GA 30030-3355                      Concluded

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the
   gifts to that recipient is less than $1,000

      None

Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2

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                Recipient's name and address                 Description of the gifts or contributions                  Dates given                          Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
       Description of the property lost and how             Amount of payments received for the loss                    Dates of loss           Value of property
       the loss occurred                                                                                                                                     lost
                                                            If you have received payments to cover the loss, for
                                                            example, from insurance, government compensation, or
                                                            tort liability, list the total received.

                                                            List unpaid claims on Official Form 106A/B (Schedule
                                                            A/B: Assets –Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
    case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing
    a bankruptcy case.

       None.
                 Who was paid or who received the              If not money, describe any property transferred               Dates                Total amount or
                 transfer?                                                                                                                                 value
                 Address
       11.1.     The Law Office of Kennon
                 Peebles, Jr.
                 3296 Summit Ridge Pkwy
                 Suite 1720
                 Duluth, GA 30096                                                                                            Dec 2018                  $5,000.00

                 Email or website address


                 Who made the payment, if not debtor?




       11.2.     Siupo Chan & Associates
                 3635 Peachtree Industrial
                 Blvd Ste 100
                 Duluth, GA 30096-2809                                                                                       2018                      $2,200.00

                 Email or website address


                 Who made the payment, if not debtor?




       11.3.     Siupo Chan & Associates
                 3635 Peachtree Industrial
                 Blvd Ste 100
                 Duluth, GA 30096-2809                                                                                       2018                      $2,200.00

                 Email or website address


                 Who made the payment, if not debtor?




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12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
    self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
       Name of trust or device                                 Describe any property transferred                     Dates transfers              Total amount or
                                                                                                                     were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within 2
    years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
    outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
              Who received transfer?                         Description of property transferred or                     Date transfer was         Total amount or
              Address                                        payments received or debts paid in exchange                made                               value

 Part 7:     Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
                Address                                                                                                  Dates of occupancy
                                                                                                                         From-To

 Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.

                Facility name and address                    Nature of the business operation, including type of services the          If debtor provides meals
                                                             debtor provides                                                           and housing, number of
                                                                                                                                       patients in debtor’
                                                                                                                                                         s care

 Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


 Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’
                                                                                                        s name, or for the debtor’
                                                                                                                                 s benefit, closed, sold, moved,
    or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,




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    cooperatives, associations, and other financial institutions.

      None
                Financial Institution name and               Last 4 digits of           Type of account or           Date account was           Last balance before
                Address                                      account number             instrument                   closed, sold,               closing or transfer
                                                                                                                     moved, or
                                                                                                                     transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.


      None
       Depository institution name and address                    Names of anyone with access            Description of the contents               Do you still
                                                                  to it                                                                            have it?
                                                                  Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which
    the debtor does business.


      None
       Facility name and address                                  Names of anyone with access            Description of the contents               Do you still
                                                                  to it                                                                            have it?


 Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
    leased or rented property.

     None
       Owner's name and address                                   Location of the property               Describe the property                                  Value
       Siasim Redan, LLC                                          1050 Holcombe Rd                       inventory of former tenant                    $100,000.00
       1550 N Brown Rd Ste 130                                    Decatur, GA 30032-2305                 Welcome Pantry # 10, LLC
       Lawrenceville, GA 30043-8154


 Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
      Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
      affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned,
      operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
      harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

       Case title                                                 Court or agency name and               Nature of the case                        Status of case
       Case number                                                address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?


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           No.
           Yes. Provide details below.

       Site name and address                                      Governmental unit name and                 Environmental law, if known              Date of notice
                                                                  address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

       Site name and address                                      Governmental unit name and                 Environmental law, if known              Date of notice
                                                                  address

 Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
    Business name address                                   Describe the nature of the business              Employer Identification number
                                                                                                             Do not include Social Security number or ITIN.

                                                                                                             Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’
                                                                       s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                      Date of service
                                                                                                                                             From-To
       26a.1.       HSP Accounting                                                                                                           2016-present
                    3675 Crestwood Pkwy NW Ste 400
                    Duluth, GA 30096-5054

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’
                                                                                     s books of account and records or prepared a financial statement within 2
         years before filing this case.

          None

    26c. List all firms or individuals who were in possession of the debtor’
                                                                           s books of account and records when this case is filed.

          None
       Name and address                                                                                    If any books of account and records are unavailable,
                                                                                                           explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
         within 2 years before filing this case.

          None
       Name and address

27. Inventories
    Have any inventories of the debtor’
                                      s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                        Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                           or other basis) of each inventory


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28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
    control of the debtor at the time of the filing of this case.

       Name                                         Address                                              Position and nature of any interest   % of interest, if
                                                                                                                                               any
       Il Sun Kim                                   300 Scioto Ct                                        CEO                                   100
                                                    Duluth, GA 30097-2053

       Name                                         Address                                              Position and nature of any interest   % of interest, if
                                                                                                                                               any
       Jong Kim                                     300 Scioto Ct                                        CFO and Secretary                     0
                                                    Duluth, GA 30097-2053



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
    of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
    credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

              Name and address of recipient                   Amount of money or description and value of               Dates              Reason for providing
                                                              property                                                                     the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

    Name of the parent corporation                                                                           Employer Identification number of the parent
                                                                                                             corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

    Name of the pension fund                                                                                 Employer Identification number of the parent
                                                                                                             corporation

 Part 14:    Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection
      with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in thisStatement of Financial Affairs and any attachments and have a reasonable belief that the information is true and




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      correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on        August 28, 2019

 /s/ Il Sun Kim                                                       Il Sun Kim
 Signature of individual signing on behalf of the debtor              Printed name

 Position or relationship to debtor        CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
No
 Yes




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B2030 (Form 2030) (12/15)
                                                             United States Bankruptcy Court
                                                       Northern District of Georgia, Atlanta Division
 In re       Golden Tree, Inc.                                                                               Case No.     1:19-bk-62090
                                                                             Debtor(s)                       Chapter      11

                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

          FLAT FEE
             For legal services, I have agreed to accept                                                 $
             Prior to the filing of this statement I have received                                       $
             Balance Due                                                                                 $

             RETAINER
             For legal services, I have agreed to accept and received a retainer of                      $                       0.00
             The undersigned shall bill against the retainer at an hourly rate of                   $                          250.00
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.     The source of the compensation paid to me was:
                    Debtor        Other (specify):

3.     The source of compensation to be paid to me is:
                    Debtor        Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
             firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:




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                                                            Debtor(s)

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                              (Continuation Sheet)
                                                                        CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     August 28, 2019                                                         /s/ Kennon Peebles, Jr
     Date                                                                    Kennon Peebles, Jr
                                                                             Signature of Attorney
                                                                             The Law Office of Kennon Peebles, Jr.

                                                                             3296 Summit Ridge Pkwy Suite 1720
                                                                             Duluth, GA 30096
                                                                             (470) 395-4427
                                                                             kennon@peebleslaw.net
                                                                             Name of law firm




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                                                                                                                                                                                      LOCAL FORM 5005-7(c)(3)(B)
                                                                           Case 19-62090-sms                Doc 10      Filed 08/28/19 Entered 08/28/19 17:25:22                         Desc Main
                                                                                                                       Document     Page 24 of 24
                                                                                                                  United States Bankruptcy Court
                                                                                                             Northern District of Georgia, Atlanta Division

                                                                   IN RE:                                                                                          Case No. 1:19-bk-62090
                                                                   Golden Tree, Inc.                                                                               Chapter 11
                                                                                                              Debtor(s)

                                                                             DECLARATION UNDER PENALTY OF PERJURY CONCERNING PETITION, SCHEDULES,
                                                                                  SUMMARY OF SCHEDULES, AND STATEMENT OF FINANCIAL AFFAIRS
                                                                   Each of the undersigned declares under penalty of perjury —

                                                                   (1) My attorney is filing on my behalf
                                                                                                                          the original of or   the amendment to
                                                                                                                                 [check applicable box]

                                                                   the following papers in the United States Bankruptcy Court for the Northern District of Georgia (check applicable box for papers that are
                                                                   to be filed simultaneously with this Declaration);

                                                                                    * Petition                                                  Schedule F
                                                                                    List of all Creditors                                       Schedule G
                                                                                    * List of 20 largest creditors                              Schedule H
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                                                                                    Schedule A                                                  Schedule I
                                                                                    Schedule B                                                  Schedule J
                                                                                    Schedule C                                                  * Declarations Concerning Debtor’s Schedules
                                                                                    Schedule D                                                  * Statement of Financial Affairs
                                                                                    Schedule E

                                                                   (2) that I have read each of the documents described above;

                                                                   (3) that with respect to each document described above marked with an asterisk, I signed the Declaration under penalty of perjury attached
                                                                   to or part of such document; and

                                                                   (4) that when I signed this Declaration, the foregoing documents were not blank or partially complete; and

                                                                   (5) that the information provided in the above documents is true and correct to the best of my knowledge, information and belief.



                                                                   Dated: August 28, 2019                            Signature:                  /s/ Il Sun Kim
                                                                                                                     Type or Print Name:         Il Sun Kim



                                                                                                                     Signature:
                                                                                                                     Type or Print Name:
                                                                                                                                                 (If Joint Debtors, Both Must Sign)

                                                                                                                               Attorney's Certification

                                                                   The undersigned attorney for the above Debtor(s) certifies to the Court that: (1) the Debtor(s)(or, if the Debtor is an entity, an authorized
                                                                   agent of the Debtor) will have signed this form and the documents referred to above before I file them; (2) no material change was made
                                                                   in the documents referred to above after the Debtor(s) (or authorized agent) read and signed the final paper copy of those documents,
                                                                   including Declarations attached to those documents and the foregoing Declaration; and (3) those documents are the documents filed with
                                                                   the court simultaneously with this Certification.



                                                                   Dated: August 28, 2019                                                        /s/ Kennon Peebles, Jr
                                                                                                                     Type or Print Name:         Kennon Peebles, Jr
                                                                                                                                                 Bar Number: 570151
